                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE


   UNITED STATES OF AMERICA,                            )
                                                        )
                         Plaintiff,                     )
                                                        )
                                                        )
                                                        )      No: 2:14-CR-107-012
                                                        )      Judge Reeves
   BRETT THOMAS CARROLL,                                )
                                                        )
                         Defendant.                     )


     MOTION FOR DOWNWARD DEPARTURE AND SENTENCING MEMORANDUM


          The United States of America, by and through William C. Killian, United States Attorney

   for the Eastern District of Tennessee, pursuant to U.S.S.G. ' 5K1.1, moves for a downward

   departure below the defendant=s advisory sentencing guideline range to reflect defendant=s

   substantial assistance in the investigation and prosecution of other persons. The United States

   also simultaneously submits the herein sentencing memorandum recommending an appropriate

   sentence which includes a discussion of the sentencing factors contained within 18 U.S.C.

   3553(a).

          The defendant entered a guilty plea on April 6, 2015 to Counts One and Two of the

   Second Superseding Indictment charging him with conspiracy to distribute and possess with the

   intent to distribute a-PVP, a Schedule I controlled substance analogue, and conspiracy to

   distribute and possess with the intent to distribute a-PVP, a Schedule I controlled substance, both

   in violation of 21 U.S.C. '' 846 and 841(a)(1) and 841(b)(1)(C). For purposes of this motion,




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   the facts of this offense are set forth in paragraphs 11 through 19 at pages 6 through 8 of the

   Presentence Investigation Report dated July 27, 2015, and incorporated herein by reference.

          As noted in the PSR, the defendant was arrested on a number of occasions in 2013 and

   2014. Some of these arrests were a-PVP related and others involved different types of drugs,

   paraphernalia and other miscellaneous offenses. On multiple occasions, the defendant supplied

   information to law enforcement.     This information was generally in the form of who was

   currently dealing gravel and who he was obtaining the gravel from. On at least one occasion, the

   defendant agreed to cooperate with law enforcement in a more proactive manner rather than

   simply giving information. He called another individual at the direction of law enforcement with

   the goal to buy an approximate ounce of a-PVP. However, this deal never materialized. The

   unfortunate end result of all of this was that the defendant could not remain clean from drugs and

   continued to re-offend. These continued arrests and violations of the law served to destroy the

   cooperation he had previously rendered.

           The defendant was arrested again on May 10, 2014 after he was pulled over for a traffic

   stop in Johnson City, Tennessee. He had approximately 8 grams of a-PVP on his person. A

   subsequent search of the motel room where he had been staying resulted in the seizure of

   approximately three more grams of gravel, digital scales and numerous other items of drug

   paraphernalia.    The defendant agreed to give a detailed statement to law enforcement agents

   subsequent to this arrest. During this statement, the defendant told officers how he got involved

   with a-PVP and admitted his dealings and interactions with co-defendants Geri Ward, Opie

   Ward, Scott Braddock, Jimmy Mclain, Mike Mangum, Rick Hillman and others. Conspicuously

   absent from that list of people was co-defendant Donya Fleenor, his girlfriend during portions of

   the conspiracy.



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           The defendant was indicted by a federal grand jury in this case on December 9, 2014 and

   was originally arrested in Georgia. As noted in paragraph 9 of the PSR, the defendant did not

   comply with all Court ordered conditions while on pretrial release from the Northern District of

   Georgia. One condition of his release was that he avoid all contact, directly or indirectly, with

   any person who is or may be a victim or witness in the investigation or prosecution. Within two

   days of his release in Georgia, the defendant contacted a third party through Facebook in an

   attempt to speak with co-defendant Donya Fleenor. He asked the third party to deliver a

   message to Fleenor despite being told that any contact with co-defendants would violate his

   pretrial release.

           Ultimately, 15 defendants were charged in the present indictment and all 15 defendants

   have now signed plea agreements. The defendant was the sixth person to sign a plea agreement

   in this case. Further, the defendant’s girlfriend during a period of the conspiracy, co-defendant

   Donya Fleenor signed her plea agreement about a month and a half before him. Since no

   defendants proceeded to trial, it was not necessary to call the defendant as a witness.

           However, it is noted that the previous statements made by the defendant to law

   enforcement were provided in discovery to the other defendants in this case and in the

   subsequent indictment, U.S. v. Shelton et al, 2:15-CR-042. While the cases against his remaining

   co-defendants were very strong, it is certainly possible that his statements provided in discovery,

   along with his signed plea agreement and willingness to testify played some factor in the

   ultimate decisions of others to subsequently also plead guilty.

           Due to the defendant’s decision to plead and cooperate early in this prosecution, in the

   opinion of the United States, the defendant Ahas provided substantial assistance in the

   investigation or prosecution of another person who has committed an offense.@ The United



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   States has considered the following factors, listed in U.S.S.G. ' 5K1.1(a) in making that

   determination:

          (1) The significance and usefulness of the defendant’s assistance;

          (2) The truthfulness, completeness and reliability of any information or testimony

              provided by the defendant;

          (3) The nature and extent of the defendant’s assistance;

          (4) Any injury suffered, or any danger or risk of injury to the defendant or his family

              resulting from his assistance; and

          (5) The timeliness of the defendant’s assistance.

          The defendant was substantially involved in this conspiracy. He has stipulated to being

   accountable for 4,000 grams of a-PVP from May 2012 through December 2014. The defendant

   also has a significant criminal history. The defendant is a criminal history category V. It is

   noted that two of his prior convictions involved the presence of firearms (paragraphs 40 and 43

   of the PSR).

          The Presentence Investigative Report (PSR) prepared by U.S. Probation establishes a

   guideline range of 120 to 150 months. If the court grants this motion for a downward departure

   pursuant to U.S.S.G. ' 5K1.1, the United States recommends a two level reduction in the

   advisory guideline range to an offense level 25 and a criminal history category V, or a range of

   100 to 125 months. The United States believes that such a departure would adequately reward

   the defendant for his cooperation, in addition to providing substantial punishment and deterrence

   for his actions. This sentence would also take into account the '3553 factors outlined in the

   presentence report.




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          Based upon all of the evidence and after consideration of all of the '3553 factors, the

   United States recommends a sentence of approximately 110 months. The United States objects

   to any departure or variance from the correctly calculated sentencing guideline range.

          Respectfully submitted this, the 24th day of November, 2015.

                                                        WILLIAM C. KILLIAN
                                                        United States Attorney

                                                 By:    s/ Donald Wayne Taylor
                                                        DONALD WAYNE TAYLOR
                                                        Assistant United States Attorney
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on November 24, 2015, the foregoing was filed electronically.
   Notice of this filing was sent by operation of the court's electronic filing system to all parties
   indicated on the electronic filing receipt. Counsel not indicated on the court=s EFS will be served
   by regular U.S. Mail, postage prepaid.


                                                By:     s/ Donald Wayne Taylor
                                                        DONALD WAYNE TAYLOR




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